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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ERIK GARCIA,                                            )
                                                        )
                       Plaintiff,                       )
                                                        )     CIVIL ACTION
vs.                                                     )
                                                        )     FILE No.
MAMA IRMA’S, INC. and,                                  )
MARTHA IRMA RODRIGUEZ,                                  )
                                                        )
                       Defendants.                      )

                                            COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendants, MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ,

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendants’

MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, failure to remove physical barriers

to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking and standing.

        5.       Plaintiff uses a wheelchair for mobility purposes.

        6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

        7.       Defendant, MAMA IRMA’S, INC. (hereinafter “MAMA IRMA’S, INC.”), is a

Texas company that transacts business in the State of Texas and within this judicial district.

        8.       Defendant, MAMA IRMA’S, INC., may be properly served with process via its

registered agent for service, to wit: Martha Irma Rodriguez, Registered Agent, 5271 Cripple

Creek, Houston, TX 77071.

        9.       Defendant, MARTHA IRMA RODRIGUEZ (hereinafter “MARTHA IRMA

RODRIGUEZ”) is an individual who transacts business in the State of Texas and within this

judicial district.

        10.      Defendant, MARTHA IRMA RODRIGUEZ, may be properly served with

process, to wit: 515 E. NASA Pkwy, #1, Webster, TX 77598.

                                   FACTUAL ALLEGATIONS

        11.      On or about December 26, 2019 and again on July 5, 2020, Plaintiff was a

customer at “Mamarita’s,” a business located at 7325 Spencer Highway, Pasadena, TX 77505,



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referenced herein as the “Mamarita’s.” Attached is the December 26, 2019 receipt documenting

Plaintiff’s purchase. See Exhibit 1. Attached is a photograph documenting Plaintiff’s December

26, 2019 visit to Mamarita’s and the Property. See Exhibit 2. Also attached is the July 5, 2020

receipt and selfie of visit to Mamarita’s and the Property. See Exhibit 3.

       12.     The Property which is the subject of this lawsuit is comprised of two parcels of

land, the main parcel is owned by MAMA IRMA’S, INC. (0211570000053) and is the parcel

which the restaurant Mamarita’s is located upon and contains a parking lot. The second parcel of

land owned by Defendant MARTHA IRMA RODRIGUEZ (0211570000089) contains the rear

parking lot which also serves the restaurant Mamarita’s.

       13.     For purposes of this action, both parcels of land is considered a single site for

purposes of the ADA and accessibility. The rear parking lot serves the restaurant which is

situated on parcel 0211570000053, this is made clear by two large signs in front of Mamarita’s

which states “Additional Parking In Rear”. Moreover, Defendant Martha Irma Rodriguez is the

registered agent and owner of Defendant MAMA IRMA’S, INC.

       14.     MAMA IRMA’S, INC. is an owner of the real property and improvements that

Mamarita’s is situated upon and that is the subject of this action, referenced herein as the

“Property.”

       15.     MARTHA IRMA RODRIGUEZ is an owner of the real property (parcel

0211570000089) and improvements that the parking lot servicing Mamarita’s is situated upon

and that is the subject of this action, referenced herein as the “Property.

       16.     Plaintiff lives 8 miles from Mamarita’s and the Property.

       17.     Plaintiff’s access to the business(es) located at 7325 Spencer Highway, Pasadena,

TX 77505, Harris County Property Appraiser’s parcel identification numbers 0211570000053



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and 0211570000089 (“the Property”), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of his disabilities, and he will be denied and/or limited in the

future unless and until Defendants, MAMA IRMA’S, INC. and MARTHA IRMA

RODRIGUEZ, are compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Property, including those set forth in this Complaint.

       18.     Defendants, MAMA IRMA’S, INC. as property owner of the parcel in which

Mamarita’s is situation on, is responsible for complying with the ADA for both the exterior

portions and interior portions of the Property. Even if there is a lease between Defendant,

MAMA IRMA’S, INC. and the tenant allocating responsibilities for ADA compliance within the

unit the tenant operates, that lease is only between the property owner and the tenant and does

not abrogate the Defendant MAMA IRMA’S, INC’s. requirement to comply with the ADA for

the entire Property it owns, including the interior portions of the Property which are public

accommodations. See 28 CFR § 36.201(b).

       19.     Plaintiff has visited the Property at least twice before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property are accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property are made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       20.     Plaintiff intends on revisiting the Property to purchase goods, food and/or services

as a return customer living in the near vicinity as well as for Advocacy Purposes, but does not

intend to re-expose himself to the ongoing barriers to access and engage in a futile gesture of

visiting the public accommodation known to Plaintiff to have numerous and continuing barriers



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to access.

       21.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered and/or was made aware of the barriers to access at the Property that

are detailed in this Complaint, engaged or was dissuaded from engaging those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a result of the

illegal barriers to access present at the Property.


                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

       22.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       23.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an


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               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       24.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       25.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       26.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       27.     The Property is a public accommodation and service establishment.

       28.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       29.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).


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       30.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       31.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       32.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       33.     Defendants, MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, have

discriminated against Plaintiff (and others with disabilities) by denying his access to, and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

of the Property, as prohibited by, and by failing to remove architectural barriers as required by,

42 U.S.C. § 12182(b)(2)(A)(iv).

       34.     Defendants, MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, will

continue to discriminate against Plaintiff and others with disabilities unless and until Defendants,



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MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, are compelled to remove all

physical barriers that exist at and the Property, including those specifically set forth herein, and

make the Property accessible to and usable by Plaintiff and other persons with disabilities.

       35.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed and/or was made aware of prior to filing

this lawsuit that precluded and/or potentially limited Plaintiff’s access to the Property and the full

and equal enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Property include, but are not limited to:

       (a)     ACCESSIBLE BARRIERS ON THE PARCEL OWNED BY
               DEFENDANT MAMA IRMA’S, INC.:

       (i)     Directly in front of the entrance to Mamarita’s, there is one accessible parking

               space that does not have a marked access aisle in violation of Section 502.3.3 of

               the 2010 ADAAG standards. This violation would make it dangerous and difficult

               for Plaintiff to access the accessible entrances of the Property.

       (ii)    Directly in front of the entrance to Mamarita’s, there is one accessible parking

               space that is not located on the shortest distance to the accessible route leading to

               the accessible entrances in violation of Section 208.3.1 of the 2010 ADAAG

               Standards. This violation would make it difficult for Plaintiff to access the units of

               the Property.

       (iii)   The total number of accessible parking spaces is inadequate and is in violation of

               Section 208.2 of the 2010 ADAAG standards. There are a total of 80 parking

               spaces on this Parcel’s parking lot, requiring at least four accessible parking

               spaces but there are only two accessible parking spaces on this parcel. This




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          violation would make it difficult for Plaintiff to locate an accessible parking

          space.

 (iv)     There are no accessible parking spaces designated with a sign which states “Van

          Accessible” in violation of section 502.6 of the 2010 ADAAG Standards.

 (v)      In the exterior area just outside the southeast corner of the building is a blue

          accessible ramp which contains a cross-slope in excess of 1:48 in violation of

          section 405.3 of the 2010 ADAAG standards. This violation would make it

          difficult and dangerous for Plaintiff to utilize this accessible ramp.

 (vi)     In the exterior area just outside the southeast corner of the building, the accessible

          route leading from the rear parking lot contains a turning space at the blue

          accessible ramp which has slopes on the turning space exceeding 1:48 in violation

          of section 304.2 of the 2010 ADAAG standards. This violation would make it

          difficult and dangerous for Plaintiff to use this accessible route.

 (vii)    The bar is lacking any portion of the counter that has a maximum height of 34

          (thirty-four) inches from the finished floor in violation of Section 902.3 of the

          2010 ADAAG standards, all portions of the bar exceed 34 (thirty-four) inches in

          height from the finished floor. This violation would make it difficult for Plaintiff

          to enjoy the unique eating experience at the bar.

 (viii)   There is a doorway threshold with a vertical rise in excess of ½ (one half) inch

          and does not contain a bevel with a maximum slope of 1:2 in violation of Section

          404.2.5 of the 2010 ADAAG standards. This violation would make it dangerous

          and difficult for Plaintiff to access the interior of the Property.




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  RESTROOMS INSIDE MAMARITA’S

 (ix)     The restroom lacks signage in compliance with Sections 216.8 and 703 of

          the 2010 ADAAG standards. This would make it difficult for Plaintiff

          and/or any disabled individual to locate accessible restroom facilities.

 (x)      The accessible toilet stall door is not self-closing and violates Section

          604.8.2.1 of the 2010 ADAAG standards. This would make it difficult for

          the Plaintiff and/or any disabled individual to safely utilize the restroom

          facilities.

 (xi)     The actionable mechanism of the paper towel dispenser in the restroom is

          located outside the prescribed vertical reach ranges set forth in Section

          308.2.1 of the 2010 ADAAG standards. This would make it difficult for

          Plaintiff and/or any disabled individual to safely utilize the restroom

          facilities.

 (xii)    The mirror in the bathrooms exceeds the maximum height permitted by

          Section 603.3 of the 2010 ADAAG standards. This violation would make

          it difficult for the Plaintiff and/or any disabled individual to properly

          utilize public features of the restroom.

 (xiii)   The lavatories and/or sinks in the restrooms have exposed pipes and

          surfaces and are not insulated or configured to protect against contact in

          violation of Section 606.5 of the 2010 ADAAG standards. This would

          make it difficult for Plaintiff and/or any disabled individual to safely

          utilize the restroom facilities.




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 (b)      ACCESSIBLE BARRIERS ON THE PARCEL OWNED BY
          DEFENDANT MARTHA IRMA RODRIGUEZ

 (xiv)    The total number of accessible parking spaces is inadequate and is in violation of

          Section 208.2 of the 2010 ADAAG standards. There are at least a total of 80

          parking spaces on this Parcel’s parking lot, requiring at least four accessible

          parking spaces but there are only two accessible parking spaces on this parcel.

          This violation would make it difficult for Plaintiff to locate an accessible parking

          space.

 (xv)     The two accessible parking spaces on this parcel are missing signage

          identifying them as accessible in violation of section 502.6 of the 2010

          ADAAG Standards. This violation would make it difficult for Plaintiff to

          locate accessible parking spaces.

 (xvi)    The two accessible parking spaces are missing a marked access aisle in

          violation of section 502.3 of the 2010 ADAAG Standards. This violation

          may make it difficult for Plaintiff to exit and enter his vehicle as marked

          access aisles discourage other vehicles from parking in the area.

 (xvii)   On the accessible route leading from the two accessible parking spaces to

          the accessible ramp providing an accessible route to the entrances of

          Mamarita’s, there are vertical rises, pot holes, and covers to utility services

          which create multiple vertical rises on the accessible route with heights in

          excess of ¼ inch in violation of section 303 of the 2010 ADAAG

          Standards. These violations would make it difficult and dangerous for

          Plaintiff to access the entrances of the restaurant from these two accessible

          parking spaces.


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      (xviii) The ramp providing an accessible route from the rear parking lot to the

               accessible entrances of Mamarita’s has vertical rises in excess of ¼ inch at

               the base of the ramp in violation of section 405.4 of the 2010 ADAAG

               standards.

      (xix)    Due to a policy of keeping the Mamarita’s Ballroom entrance closed and

               locked during regular business hours and due to the presence of a

               fence/gate blocking the accessible route from the rear parking lot, the

               accessible parking spaces in this parking lot are not located on an

               accessible route in violation of section 208.3.1 of the 2010 ADAAG

               Standards.

       36.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       37.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       38.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       39.     All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       40.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       41.     Upon information and good faith belief, the removal of the physical barriers and



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dangerous conditions present at the Property is readily achievable because Defendants, MAMA

IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, have the financial resources to make the

necessary modifications. According to the Property Appraiser, the appraised value of the parcel

owned by Defendant MAMA IRMA’S, INC. is $1,473,125.00 and the value of the Property

owned by MARTHA IRMA RODRIGUEZ is $179,876.00 for a combined value of

$1,653,001.00.

       42.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       43.       Upon information and good faith belief, the Property has been altered since 2010.

       44.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       45.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendants, MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, are required to

remove the physical barriers, dangerous conditions and ADA violations that exist at the Property,

including those alleged herein.

       46.       Plaintiff’s requested relief serves the public interest.

       47.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendants.

       48.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of



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litigation from Defendants, MAMA IRMA’S, INC. and MARTHA IRMA RODRIGUEZ,

pursuant to 42 U.S.C. §§ 12188 and 12205.

       49.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendants, MAMA

IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, to modify the Property to the extent

required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)    That the Court find Defendant, MAMA IRMA’S, INC., in violation of the ADA

              and ADAAG;

       (b)    That the Court find Defendant, MARTHA IRMA RODRIGUEZ, in violation of

              the ADA and ADAAG;

       (c)    That the Court issue a permanent injunction enjoining Defendants, MAMA

              IRMA’S, INC. and MARTHA IRMA RODRIGUEZ, from continuing their

              discriminatory practices;

       (d)    That the Court issue an Order requiring Defendants, MAMA IRMA’S, INC. and

              MARTHA IRMA RODRIGUEZ, to (i) remove the physical barriers to access and

              (ii) alter the Property to make it readily accessible to and useable by individuals

              with disabilities to the extent required by the ADA;

       (e)    That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

              and costs; and




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 (f)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: December 14, 2020.

                                     Respectfully submitted,

                                     Law Offices of
                                     THE SCHAPIRO LAW GROUP, P.L.

                                     /s/ Douglas S. Schapiro
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